
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division should be affirmed, with costs.
The court determined that defendant Uniformed Firefighters Association’s motion pursuant to CPLR 3216 to dismiss the complaint against it (for plaintiff’s failure to serve and file a note of issue within 90 days following demand) should have been granted. That determination was made, inter alia, in the exercise of discretion. On this record that determination did not constitute an" abuse of discretion nor was it otherwise affected by an error of law.
Chief Judge Cooke and Judges Jasen, Gabrielli, Jones, Wachtler, Fuchsberg and Meyer concur in memorandum.
Order affirmed.
